                            Case 1:11-cr-00354-JLT Document 16 Filed 02/06/12 Page 1 of 2
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                       5
                           Attorney for   JESUS RAMON SERRANO
                       6

                       7
                                                            UNITED STATES DISTRICT COURT
                       8
                                                         EASTERN DISTRICT OF CALIFORNIA
                       9
                                                                        * * * * *
                     10
                     11    UNITED STATES OF AMERICA                       )       Case No. 1: 11-CR-00354 LJO
                                                                          )
                     12              Plaintiff,                           )       WAIVER OF PERSONAL APPEARANCE
                                                                          )       ON ARRAIGNMENT AND ORDER
                     13                   vs.                             )       THEREON
                                                                          )
                           JESUS RAMON SERRANO                            )       [RULE 10(B)(2) F.R.Crim.P
                     14                                                   )
                                     Defendant.                       ____)       HONORABLE LAWRENCE J. O’NEILL
                     15

                     16              Pursuant       to    Rule       10(b)(2),     F.R.Crim.P.,     Defendant,    JESUS
                     17
                           RAMON SERRANO, having been advised of his right to be present at
                     18
                           all stages of the proceedings, hereby waives his right to be
                     19
                           present          in   person         in   open   court      at   his   arraignment    on   the
                     20
                           Superseding Indictment presently set for February 17, 2012 at
                     21
                     22    1:00 p.m. in Courtroom Four of the above entitled court.

                     23              Defendant hereby acknowledges that he has received a copy of
                     24    the Superseding Indictment and requests the court to proceed in
                     25
                           his       absence       and     agrees      that      his    interests    will   be   deemed
                     26
                           represented at said arraignment by the presence of his attorney,
                     27
                           MARIO DISALVO.
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 Mario DiSalvo, Esq.
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 Phone (559) 442-1552                                                         1
                             Case 1:11-cr-00354-JLT Document 16 Filed 02/06/12 Page 2 of 2
                       1   Defendant further agrees that MARIO DISALVO may enter a plea of

                       2   NOT   GUILTY   on    his   behalf     to    the                        charges     in     the    Superseding
                       3   Indictment.
                       4

                       5
                           Dated: February 6, 2012                                                   /S/ JESUS RAMON SERRANO
                       6                                                                             Jesus Ramon Serrano
                                                                                                     (original signature on file)
                       7

                       8

                       9
                                 Defendant’s     counsel       joins    in                        his    request      for    waiver   of
                     10
                           personal     appearance       at    the     arraignment                            on   the      Superseding
                     11
                           Indictment     and   agrees    to    enter       a                     plea   of    NOT    GUILTY    on    the
                     12
                           defendant’s behalf.
                     13

                     14
                           Dated: February 6, 2012                                                          /s/ Mario DiSalvo
                     15                                                                                     MARIO DISLAVO
                                                                                                            Attorney for
                     16                                                                                     JESUS SERRANO
                     17

                     18
                                                                O R D E R
                     19

                     20          Good Cause Appearing,
                     21          Defendant JESUS SERRANO is excused from appearing at the
                     22
                           arraignment presently set for February 17, 2012 at 1:00 p.m.
                     23

                     24
                           IT IS SO ORDERED.
                     25

                     26      Dated:   February 6, 2012                                            /s/ Lawrence J. O’Neill
                                                                            UNITED STATES DISTRICT JUDGE
                     27
                                                                            DEAC_Signature-END:




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 Mario DiSalvo, Esq.
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